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                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division

UNITED STATES OF AMERICA,                   :
                                            :
v.                                          :      Criminal Case No. 1:18-CR-457-AJT-1
                                            :
BIJAN RAFIEKIAN, et al.                     :


                                           ORDER

       Upon consideration of the parties’ Joint Statement Regarding Issues that Remain

Outstanding for Decision and the entire record herein, for good cause shown, it is this 14th day

of May, 2021, hereby

       ORDERED that the Motion is GRANTED; and it is further

       ORDERED that the following deadlines be set:

                1. Defendant’s Supplemental New-Trial Brief is due on or before June 28, 2021;

                2. United States’ Response Brief is due on or before August 13, 2021;

                3. Defendant’s Reply Brief is due on or before September 3, 2021.

       SO ORDERED.




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                                                           The Honorable Anthony J. Trenga
                                                           United States District Judge
